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                           Exhibit 2
       2007 Stock Purchase Agreement
      by and between PGIC, OneBeacon
      Insurance Company, and SPARTA
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                                          PGIC 30(b)(6)

                                            EX 0002
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